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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                    CASE NUMBER:

                                                                              ED CR 15-0093-JGB
                                             PLAINTIFF(S)
                   v.
ENRIQUE MARQUEZ, JR.                                                 NOTICE OF MANUAL FILING
                                                                           OR LODGING
                                           DEFENDANT(S).

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          Other:




6/5/2018                                                      Amy M. Karlin
Date                                                          Attorney Name
                                                              Defendant, Enrique Marquez, Jr.
                                                              Party Represented

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